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     Attorneys for Respondent
     UNITED AIRLINES, INC.

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF HAWAI'I

     COLBY JOHNSON and JASON                        CIVIL NO. - - - - - - - -
     MANGONON,

                         Petitioners,               RESPONDENT UNITED
                                                    AIRLINES, INC.'S NOTICE OF
           vs.                                      REMOVAL; DECLARATION OF
                                                    ABIGAIL M. HOLDEN; EXHIBITS
     UNITED AIRLINES, INC.,                         1 - 5; CERTIFICATE OF SERVICE
                         Respondent.                No trial date

        RESPONDENT UNITED AIRLINES, INC. 'S NOTICE OF REMOVAL

                  Respondent United Airlines, Inc. ("United Airlines"), hereby removes

     to this Honorable Court a civil action filed in the First Circuit Court for the State of

     Hawai'i, S.P. No. 18-1-0049 VLC, pursuant to 28 U.S.C. § 144l(b).




                                          EXHIBIT A
Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 2 of 29                   PageID #: 48
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     I.      STATE COURT PROCEEDINGS

                     1.   On February 14, 2018, Petitioners Colby Johnson and Jason

     Mangonon ("Petitioners"), appearing prose, filed a Verified Petition to Provide

     Deposition Before Action in Accordance with H.R.C.P. Rule 27 against United

     Airlines in the Circuit Court of the First Circuit for the State of Hawai'i. A copy of

     the Petition is attached to the Declaration of Abigail M. Holden as Exhibit 1.

                     2.   United Airlines was served with a copy of the Petition on

     February 15, 2018. (Declaration of Abigail M. Holden ("Holden Deel.") at if 2.)

     No other pleadings have been filed in this action. (See Exhibit 5, State Court

     docket.)

     II.      VENUE

                     3.   Venue lies in the United States District Court for the District of

     Hawai'i pursuant to 28 U.S.C. §§ 144l(a) and 1446(a) because this action was

     originally brought in the Circuit Court of the First Circuit for the State of Hawai'i.

     III.     GROUNDS FOR REMOVAL

                     4.   This Notice of Removal is timely pursuant to 28 U.S.C.

     § 1446(b) inasmuch as it was filed within 30 days of United Airline's receipt of the

     civil action.

                     5.   Petitioners' Petition alleges that they are citizens and residents

     of the State of Hawai' i. (Exhibit 1; Petition at if 1.)



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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 3 of 29                  PageID #: 49
         Case 1:18-cv-0007 / Document 1 Filed 02/27/18 Page 3 of 4         PagelD #: 3




                  6.     United Airlines is a corporation duly organized under the laws

     of the State of Delaware, headquartered in Chicago, Illinois. (Holden Deel. at if 4.)

     United Airlines is not a citizen of the State of Hawai' i. (Id.)

                  7.     Thus, there is complete diversity of citizenship pursuant to

     28 U.S.C. § 1332 and United Airlines is not a citizen of the State in which the

     action is brought pursuant to 28 U.S.C. § 1441(b).

                  8.     The Petition alleges that Petitioners intend to bring actions for

     "Negligence, Negligence Per Se, Breach of Contract, and Negligent Infliction of

     Emotional Distress" against United Airlines. (Exhibit 1; Petition at if 5.)

                  9.     On January 3, 2018, Ms. Johnson wrote to United Airlines

     indicating that she intended to file a "Complaint against United [Airlines] in the

     United States District Court alleging a number of claims." (Exhibit 2.)

                   10.   On January 20, 2018, Petitioners demanded $4,000,000.00 per

     person (apparently a total of $8,000,000.00) to settle their claims. (Exhibit 3.)

                   11.   On February 8, 2018, Petitioners demanded $250,000 per

     person (apparently a total of $500,000.00) to settle the claim. (Exhibit 4.)

                   12.   Accordingly, the amount in controversy exceeds the

     jurisdictional minimum under 28 U.S.C. § 1332.




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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 4 of 29                PageID #: 50
           Case 1:18-cv-0007 1 Document 1 Filed 02/27/18 Page 4 of 4      PagelD #: 4




     IV.    NOTICE TO ADVERSE PARTIES AND STATE COURT

                   13.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice shall be

     promptly served on Petitioners and will be filed with the Clerk of the Court of the

     First Circuit, State ofHawai'i.

     V.     CONCLUSION

                   14.   By removing this action to this Court, United Airlines does not

     waive any defenses, objections or motions available under state or federal law.

     United Airlines expressly reserves the right to move for dismissal of Petitioners'

     claims pursuant to Rule 12 of the Federal Rules of Civil Procedure and/or any

     other rule.

                   WHEREFORE, United Airlines prays that the above-entitled action

     be removed from the Circuit Court of the First Circuit, State of Hawai'i, to the

     United States District Court for the District of Hawai'i.

                   DATED: Honolulu, Hawai'i, February 27, 2018.

                                           Isl Abigail M. Holden
                                           JOACHIM P. COX
                                           ROBERT K. FRICKE
                                           ABIGAIL M. HOLDEN

                                           Attorneys for Respondent
                                           UNITED AIRLINES, INC.




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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 5 of 29                 PageID #: 51
        Case 1:18-cv-00077 Document 1-1 Filed 02/27/18 Page 1 of 3         PagelD #: 5




                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF HA WAI'I

     COLBY JOHNSON and JASON                        CIVIL NO. - - - - - - - -
     MANGONON,

                         Petitioners,               DECLARATION OF ABIGAIL M.
                                                    HOLDEN; EXHIBITS 1 - 5
           vs.

     UNITED AIRLINES, INC.,

                         Respondent.




                       DECLARATION OF ABIGAIL M. HOLDEN

                  I, Abigail M. Holden, declare and say that:

                  1.     I am one of the attorneys for United Airlines, Inc. ("United").

     All of the information stated herein is information based on my personal

     knowledge that I learned in said capacity for United. If called as a witness I could

     and would testify to the truth of the matters stated herein.

                  2.     Attached hereto as Exhibit 1 is a true and correct copy of the

     Verified Petition to Provide Deposition Before Action in Accordance with

     H.R.C.P. Rule 27 filed in the Circuit Court of the First Circuit, State of Hawai'i on

     February 14, 2018 ("Petition").
Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 6 of 29                PageID #: 52
        Case 1:18-cv-ooon Document 1-1 Filed 02/27/18 Page 2 of 3          PagelD #: 6




                  3.     United was served with a copy of the Petition on February 15,

     2018.

                  4.     United is a corporation duly organized under the laws of the

     State of Delaware, headquartered in Chicago, Illinois. United is not a citizen of the

     State of Hawai'i.

                  5.     Attached hereto as Exhibit 2 is a true and correct copy of an

     e-mail dated January 3, 2018, Ms. Johnson wrote to United Airlines indicating that

     she intended to file a "Complaint against United [Airlines] in the United States

     District Court alleging a number of claims.

                  6.     Attached hereto as Exhibit 3 is a true and correct copy of an

     e-mail dated January 20, 2018 from Colby Johnson to United Airlines, offering to

     settle Petitioners' claims against United Airlines for $4,000,000.00 per person

     (apparently a total of $8,000,000.00).

                  15.    Attached hereto as Exhibit 4 is a true and correct copy of an

     e-mail dated February 8, 2018 from Colby Johnson to United Airlines, offering to

     settle Petitioner's claims against United Airlines for $250,000 per person

     (apparently a total of $500,000.00).




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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 7 of 29                   PageID #: 53
        Case 1:18-cv-OOOTt Document 1-1 Filed 02/27/18 Page 3 of 3           PagelD #: 7




                  16.      Attached hereto as Exhibit 5 is a true and correct copy of the

     State Court docket.

                  I declare under penalty of perjury under the laws of the State of

     Hawai'i and the United States that the foregoing is true and correct.

                   Executed this 27th day of February 2018, at Honolulu, Hawai'i.


                                                  /s/ Abigail M. Holden
                                                  ABIGAIL M. HOLDEN




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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 8 of 29                                  PageID #: 54
         Case 1:18-cv-OOOTt Document 1-2 Filed 02/27/18 Page 1 of 5                        PagelD #: 8



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       Petitioners Pro Se



                            IN nmcmcurr COURT OF 11m FIRST CIRCUIT
                                             STATEOFHAWAJI
        COLBY JOHNSON. and JASON                          S.P. NO.      18 - 1 - 004 9
        MANGONON.                                        (Special Pmceedinp)

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              2.      Potential advene     party    and Respondent. UNITED AIRLINES, INC.
      ("R.espcmdentj is an airline headquartered in Chicago,. Dlinois, with a principal business~




                                                   EXHIBIT 1
      Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 9 of 29                                                                                                               PageID #: 55

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      From: Colby Johnson
      Sent: Wednesday, January 03, 2018 9:15 AM
      To: 'grgg.hart@united.com'
      Subject: Case ID# 17153449 - Customer Care Team
      Importance: High

       Hello Mr. Hart,

      I am writing in an attempt to resolve an incident that was documented in Case ID# 17153449
      and submitted to United customer care on December 31, 2107. There has been no response
      from customer care or United. I am writing to inform you that if a response is not received
      within 3 business days, we intend to file a Complaint against United in the United States District
      Court alleging a number of claims including negligent operation as a common carrier. Please
      respond at your earliest convenience so that this matter may be resolved. Thank you.

      Colby E. Johnson*
      Associate Attorney
      Aldridge I Pite, LLP
      810 Richards Street, Suite 700
      Honolulu, HI 96813
      Main Office: {808) 275-4490
      Direct Dial: (808) 599-9369
      Direct Fax: {808) 412-2718
      ~johnson@aldridg~P-ite.com
      Alabama I Alaska I Arizona I California   I Florida I Georgia I Hawaii I Idaho I Illinois I Nevada
      I New Jersey I New Mexico I New York      I North Carolina I Oregon I Pennsylvania I Tennessee
      I Texas I Utah I Washington
      *Licensed in Hawaii




      This is an attempt to collect a debt by a debt collector, and any information obtained
      will be used for that purpose. However, if you are in an active bankruptcy case or
      have received a discharge of your personal liability for this debt in bankruptcy, our
      firm does not seek to enforce your personal liability for the debt, but may be able to
      pursue legal action to obtain possession of the collateral which is security for the debt
      to the extent that our client has a valid lien against the collateral.

      This e-mail and any attachments contain information from the law firm of Aldridge Pite,
      LLP and are intended solely for the use of the named recipient(s). This e-mail may contain
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      (404) 994-7400 and delete the e-mail from any drives or storage media and destroy any
      print out(s) of this e-mail or its attachments.




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Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 14 of 29                                                              PageID #:
                                     60
          Case 1:18-cv-00077 Document 1-4 Filed 02/27/18 Page 1 of 2                                             PagelD #: 14


  Subject: Re: United Airlines
  Date:      Saturday, January 20, 2018 at 7:57:00 PM Hawaii-Aleutian Standard Time
  From:      Colby Johnson <colbyevelynn@gmail.com>
  To:        Simpson, Darrell <Darrell.Simpson@united.com>

  Hi Mr. Simpson,

  It was great to speak with you on Friday. As you requested, we sat down and calculated a number based on
  estimated special and general damages, punitive damages, attorney's fees and costs as well as additional
  considerations. We believe a fair and reasonable settlement amount is $4,000,000.00 per claim to resolve the
  current matter prior to the commencement of litigation.

  Please let me know when you want to set up a time for a call. I look forward to speaking with you again soon.

  Thank you.

  Colby

  On Jan 18, 2018, at 12:34 PM, Simpson, Darrell <Darrell.SimP-son@united.com> wrote:



          Good morning, Ms. Johnson:

          I apologize for the delay in responding, as our offices were unexpectedly closed on
          Tuesday and Wednesday due to inclement weather. Houston does not experience snow
          or ice but maybe every 10 or so years and it happened to snow Monday evening, which
          resulted in most of the highway system being closed. Houston does not have salt or
          sand trucks to treat the roads and I am sure that is more information than you cared to
          receive about Houston's ability to combat snow and ice. Will you be available tomorrow?

          Best regards,

          Darrell Simpson
          Corporate Insurance - Analyst

          United I 1600 Smith Street I Houston TX 77002
          Tel: (713) 324-5211 I darrell.simP-son@united.com
          www.united.com
          Confidentiality Note: This e-mail is intended only for the person or entity to which it is addressed and may contain
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                                                             EXHIBIT 3
Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 15 of 29                                                         PageID #:
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                                     61
       Case 1:18-cv-00077 Document 1-4 Filed 02/27/18 Pag-e 2 of 2                                            PagelD #: 15


      From: Colby Johnson [mailto:colbv.evelv.nn@gmail.com]
      Sent: Wednesday, January 17, 2018 4:14 PM
      To: Simpson, Darrell
      Subject: Re: United Airlines

      Hi Mr. Simpson,

      What time are you available tomorrow for a call to discuss this incident? I called you today at 11
      a.m. CST as we had planned but was unable to reach you. Please let me know.

      Thank you.

      Colby

      On Jan 11, 2018, at 12:31 PM, Simpson, Darrell <Darrell.Simgson@united.com> wrote:

              Dear Ms. Johnson:

              Are you available tomorrow before 12 PM CST or anytime Tuesday for a call
              to discuss your travel with United? Also, as part of my review into this
              matter, we kindly ask that you provide your settlement demand.

              Best regards,

              Darrell Simpson
              Corporate Insurance -Analyst

              United I 1600 Smith Street I Houston TX 77002
              Tel: (713) 324-5211 I darrell.simJrum.@united.com
              www.united com
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                                         62
       Case 1:18-cv-00077 uocument 1-5 Filed 02/27/18 Page 1 of 4 PagelD #: 16


  Subject: RE: Claim GC-10806
  Date:       Thursday, February 15, 2018 at 10:00:21 AM Hawaii-Aleutian Standard Time
  From:       Simpson, Darrell <Darrell.Simpson@united.com>
  To:         Colby Johnson <colbyevelynn@gmail.com>

  Good morning, Ms. Johnson:

  Thank you for your counteroffer as well as the opportunity to respond at this time. While we certainly
  respect your position, Ms. Johnson, we respectfully advise that our offer of $1,350.00 per person
  remains unchanged and will remain valid until 5PM CST on February 22, 2018.

  Please note that you may be receiving a response from a United DOT Specialist in response to the
  communication you sent to the DOT regarding your travel with United Airlines.

  Best regards,

  Darrell Simpson
  Analyst - Corporate Insurance

  United Airlines 1609 Main Street, 1ath Floor I HSCCI I Houston, TX 77002
  Phone: (346) 265-4238 I Email: darrell.simP-son@united.com

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  original message and all copies.


  From: Colby Johnson [mailto:colbyevelynn@gmail.com]
  Sent: Thursday, February 08, 2018 10:04 PM
  To: Simpson, Darrell
  Subject: Re: Claim GC-10806

  Hi Mr. Simpson,

  Thank you for your response to my email. We are offering a counter-offer of $250,000.00 per person to settle
  this claim. Please understand that this offer will expire on February 15, 2018.

  Thank you for your attention to this matter.

  Best,

  Colby

  On Feb 5, 2018, at 11:37 AM, Simpson, Darrell <Darrell.SimQson@united.com> wrote:




                                                                                                                                          Page 1of3
                                                              EXHIBIT 4
Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 17 of 29                                                          PageID #:
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       Case 1:18-cv-00077 Document 1-5 Filed 02/27/18 Page 2 of 4                                            PagelD #: 17


      Dear Ms. Johnson:

      Thank you for your most recent email as well as the opportunity to respond at this time.
      As the adjuster assigned to this matter, I have been asked to respond on behalf of
      United Airlines.

      As such, in response to your demand of $4,000,000.00 per claim, we are willing to
      extend a gesture of goodwill in the amount of $1,350.00 per person. This offer will
      remain valid for 5 days from the date of this email. Should you wish to accept this offer,
      please advise at your earliest convenience and we will send the appropriate
      documentation for execution.

      Should you have any questions, please do not hesitate to contact me. Please note that
      mY. teleP-hone number will change on Februacy_.8., 2018 at 3 PM CST to (346) 265-
      4238 and (113.) 324-5211 will no longer be active.

      Best regards,

      Darrell Simpson
      Corporate Insurance - Analyst

      United I 1600 Smith Street I Houston TX 77002
      Tel: (713) 324-5211 * I darrell.simgson@united.com
      www.unjted.com

      *AFTER FEB. 8th, MY CONTACT NUMBER WILL BE (346) 265-4238

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      for delivering the message to the intended recipient. is prohibited. If you have received this e-mail In error, please
      contact Darrell Simpson at (713) 324-5211 and destroy the original message and all copies.


      From: Colby Johnson [mailto:Oohnson@aldridgeQite.com]
      Sent: Friday, February 02, 2018 2:32 PM
      To: Nottestad, Andrew
      Cc: Hart, Greg; Simpson, Darrell
      Subject: Claim GC-10806

      Hello Mr. Nottestad,

      I have been in contact with United Airlines in an attempt to resolve an incident that was
      documented by Mr. Darrell Simpson in Claim GC-10806. I have been forthcoming with Mr.
      Simpson with all information requested of me, including a settlement demand. The settlement
      demand Mr. Simpson requested was sent on January 20, 2018. He failed to confirm his receipt




                                                                                                                                    Page 2 of 3
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      of my email and has since ignored my emails and phone calls asking for confirmation or a status.



      Therefore, I am contacting you because I fully intend to file a Complaint against United Airlines,
      alleging, in part, negligent operation as a common carrier and negligence per se for United's
      violations of 14 C.F.R. § 135.121 for the improper serving of alcoholic beverages, 49 C.F.R. §
      1544.303 for the improper handling of bomb or air piracy threats, and for failure to report these
      incidents to the FAA within the proscribed timeline (among other claims for relief).

      Once litigation has commenced, settlement of these claims will be off the table. I am writing to
      afford United the opportunity to settle these claims prior to the commencement of litigation as
      well as the accompanying full media release of what occurred on UA Flight 1589. It is my
      position that United will lose a substantial amount of goodwill should these claims be subjected
      to public scrutiny.

      Please understand that should I not receive a response by EOB Tuesday, February 6, 2018, I will
      move forward with a Motion for Deposition Before Action and for the Examination of Discovery
      on an Emergency Basis. Please note that an FOIA request has already been submitted to the
      FAA to obtain any and all incident reports relating to Flight UA 1589.

       Please feel free to contact me at my direct number or respond to this email. I appreciate your
       prompt attention to this matter.

       Best,

      Colby E. Johnson*
      Associate Attorney
      Aldridge I Pite, LLP
      810 Richards Street, Suite 700
      Honolulu, HI 96813
      Main Office: (808) 599-9369
      Direct Dial: (808) 265-5859
      Direct Fax: (808} 412-2718
      ~johnson@aldridgg_P-ite.com
      Alabama I Alaska I Arizona I California   I Florida I Georgia I Hawaii I Idaho I Illinois I Nevada
      I New Jersey I New Mexico I New York      I North Carolina I Oregon I Pennsylvania I Tennessee
      I Texas I Utah I Washington
      *Licensed in Hawaii




       This is an attempt to collect a debt by a debt collector, and any information obtained
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       Case 1:18-cv-00077 Document 1-5 Filed 02/27/18 Page 4 of 4                   PagelD #: 19


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                                                Non-Criminal Case Information

      Case ID                      1SP181000049                            Case Title            COLBY JOHNSON ETAL VS UNITED
                                                                                                 AIRLINES INC

      Initiation Type              N                          Initiation Date           02/09/2018      Initiator l.D.         APS

      Cont. Code                   N                          Division                  1C09            Court                  c


              Case Info                                   Party List                        Document List                Court Minutes List



      Cause of Action              SPEC PROCEED                                                         Nature of              18051
                                                                                                        Action

      Cons Code                                               Trial Type                                Trial Judge

      Section Code                                            Court Costs               0               Lower Crt Cs

      Case Disp                                               Case Term                                 Cs Term Dt

      Orig. Agency                                            Tax Dist.                                 Tax App Src

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                                               Non-Criminal Case Information

         Case ID                   1SP181000049                               Case Title                COLBY JOHNSON ETAL VS UNITED
                                                                                                        AIRLINES INC

         Initiation Type           N                         Initiation Date               02/09/2018             Initiator l.D.         APS

         Conf. Code                N                         Division                      1C09                   Court                  c


                Case Info                                Party List                             Document List                      Court Minutes List



              Seq     Name                                                                 Party Type             Open Date           Party Status

          1           JOHNSON , COLBY                                                      PT                     02/10/2018


                           Attorney l.D.            Type                        Status              Attorney Name
                                                                                                                      ~~~~~~~~~~-

                                                    PS                          A                   PROSE


           Amt Pr For                                            Attorney's Fee                               Amt. Awarded

           Attrny Comm                                           Interest                                     Sheriffs Fee

           Notary Fee                                            Court Costs                                  Mileage Fee

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     I    2            MANGONON, JASON                                                     PT                     02/10/2018

                Seq        Attorney l.D.            Type                        Status              Attorney Name
                           APS                      PS                          A                   PROSE


           Amt Pr For                                            Attorney's Fee                               Amt. Awarded

           Attrny Comm                                           Interest                                     Sheriffs Fee

           Notary Fee                                            Court Costs                                  Mileage Fee

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          3            UNITED AIRLINES INC                                                 RD                     02/10/2018


           Amt Pr For                                            Attorney's Fee                               Amt. Awa rded

           Attrny Comm                                           Interest                                     Sheriffs Fee                              I
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                                                     Non-Criminal Case Information

      Case ID                          1SP181000049                             Case Tille            COLBY JOHNSON ETAL VS UNITED
                                                                                                      AIRLINES INC

      Initiation Type                  N                             Initiation Date         02/09/2018      Initiator l.D.         APS

      Cont. Code                       N                             Division                1C09            Court                  c


                Case Info                                        Party List                      Document List                Court Minutes List


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             Seq         Doc            Document Title                                                      Date/Time             Filing Party
                         Type

         v1              EPR            (RECEIVED) COPY OF VERIFIED PETITION TO                             02/09/2018           PROSE
                                        PROVIDE DEPOSITION BEFORE ACTION IN                                 10:19
                                        ACCORDANCE WITH HRCP RULE 27; NIH


          Volume Number                                                         Case Folder Pg

          Comments


                         PET            VERIFIED PETITION TO PROVIDE DEPOSITION                             02/14/2018           PROSE
                                        BEFORE ACTION IN ACCORDANCE WITH HRCP                               12:23
                                        RULE 27; N/H


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          Comments




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      Case ID                           1SP181000049                                  Case Title                 COLBY JOHNSON ETAL VS UNITED
                                                                                                                 AIRLINES INC

       Initiation Type                  N                             Initiation Date               02/09/2018                Initiator l.D.           APS

      Conf. Code                        N                             Division                      1C09                      Court                    c


                Case Info                                         Party List                              Document List                        Court Minutes List


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          CTRM                                                            Cal. Type                 AC                       Priority              0

          Judge l.D.                      JVCRANDA                        Video No.                                          Audio No.
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          Minutes


                          MOT            1C09           CM                03/12/2018                           VERIFIED PETITION TO
                                                                          10:00                                PROVIDE DEPOSITION BEFORE
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                                                                                                               H.R.C.P. RULE 27 (C. JOHNSON)


          CTRM                                                            Cal. Type                 CM                       Priority              0

          Judge l.D.                      JVCRANDA                        Video No.                                          Audio No.




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                     IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF HA WAI'I

    COLBY JOHNSON and JASON                    CIVIL NO. - - - - - - - -
    MANGONON,

                         Petitioners,          CERTIFICATE OF SERVICE

          vs.

    UNITED AIRLINES, INC.,

                         Respondent.


                                CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a copy of the within document was served

    on this date in the following manner:

                                              HAND
                                            DELIVERED       MAILED          CM/ECF

    COLBY JOHNSON                              [ ]              [ x]           [ ]
    JASON MANGONON
    810 Richards Street, Suite 700
    Honolulu, HI 96813

    Petitioners Pro Se

                 DATED: Honolulu, Hawai'i, February 27, 2018.


                                            /s/ Abigail M. Holden
                                            JOACHIM P. COX
                                            ROBERT K. FRICKE
                                            ABIGAIL M. HOLDEN

                                            Attorneys for Respondent
                                            UNITED AIRLINES, INC.
            Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 26 of 29                                                                                                                 PageID #:
                                                 72
                             Case 1:18-cv-0007i Document 1-8 Filed 02/27/18 Page 1 of 1                                                                                PagelD #: 26
JS 44 (Rev. 12112)                                                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadin&S or other papers as required b}' law, except as
provided b~ l~~al. rules of.c~urt. This fonn, approved by the Judicial Conference of the United States in September 1974, is rcqu1.red for the use of the Clerk of Court for the
purpose ofimttatmg the CIVIi docket sheet. (SETi INSTRUCTIONS ON NE).T PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
               Johnson, Colby                                                                                          United Airlines, Inc.
               Mangonon, Jason

      (b) County of Residence offirst Listed Plaintiff   '-'H=o"-'n=ol=u...,lu....._______                         County of Residence of First Listed Defendant                 ....:D=e:::la:.l.w...,a::.:.r.:e_______
                             (EXCEPT IN U.S. /'LA/NT/FF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                                              THE TRACT OF LAND INVOLVED.

  ( C) Attorneys (Fir111 Name, Addre:r.:r, and Telepl1m1c Nu111hcr)                                                 Attorneys (If K11nw11)
Colby Johnson, Jason Mangonon                                                                                    Joachim P. Cox, Robert K. Fricke, Abigail M. Holden
810 Richards Street, Suite 700, Hon, HI 96813 (808) 265-5859                                                     Cox Fricke LLP
Petitioners Pro Se                                                                                               800 Bethel Street, Suite 600, Hon., HI 96813 (808) 585-9440

    II. BASIS OF JURISDICTION (Placea11 HX"i110lle8oxOnly)                                            III. CITIZENSHIP 0 F PRINCIPAL PARTIES (/'lace an                                      NX" in 0111! Bm/nr Plaintiff
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    IV. NATURE OF SUIT (Pia"°'' "X" 111011e Bnx OnlyJ
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    0 120 Marine                       0     310 Airplane                  0 365 Personal Injury •              of Property 21 USC 881             0 423 Withdrawal                  0 400 State Reapportionment
    0 130 Miller Act                   0     315 Airplane Product                 Product Liability       0 6900lber                                     28USC157                    a 410 Antitrust
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    0 210 Land Condemnation            0     440 Other Civil Rights           Habeas Corpus:              Income Security Act                      0 870 Taxes (U.S. Plaintiff             Act/Review or Appeal or
    0 220 Foreclosure                  0     441 Voting                    0 463 Alien Detainee                                                          or Defendant)                     Agency Decision
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    CJ 240 Torts 10 Land               0     443 Housing/                         Sentence                                                               26 USC 7609                       State Statutes
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    0 290 All Other Real Property      0     445 Amer. w/Disabilities -    0 S3S Death Penalty             JMMIGRATION
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           Proceeding               State Court                            Appellate Court                Reopened               Another District                   Litigation
                                                                                                                                     (.'ipccify)
                          Cite the U.S. Civil Statute under which you are filing (Do 1101 cilej11risdlct/011al statutes 1111/ess di11ersi1y):
                          28 U.S.C.                    1332, 1441 a and 1446 a
    VI. CAUSE OF ACTION .-B-r-ief_d_es_c-ri-pt.M.io"'"n-o-fc_a.-us:..e-..:__...,.._.____..._.~--------------------------
                                               Alleged incident on airline flight
    VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                  DEMANDS                                         CHECK YES only if demanded in complaint:
         COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                        JURY DEMAND:         0 Yes     ).!{No
    VIII. RELATED CASE(S)
                           (See i1u1n1c1im1.v):
          IF ANY                                JUDGE                                                                                                  DOCKET NUMBER
    DATE                                                                      SIGNATURE OF A1TORNEY OF RECORD
    02/27/2018                                                               /s/ Abigail M. Holden
    FOR OFFICE USE ONLY
       RECEIPT#                     AMOUNT                                         APPL YCNG IFP                                    JUDGE                               MAG.JUDGE
    Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 27 of 29                                  PageID #:
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2127/2018                                                               CM/ECF V6.l.l **LIVE**

Attorney Initiating Documents
                                                                    U.S. District Court

                                                                    District of Hawaii

Notice of Electronic Filing

The following transaction was entered by Holden, Abigail on 2/27/2018 at 4:46 PM HST and filed on 2/27/2018
Case Name:           Johnson v. United Airlines, Inc.
Case Number:         1: 18-cv-00077
Filer:               United Airlines, Inc.
Document Number: l
Judge(s) Assigned: None (please contact the court)

Docket Text:
NOTICE OF REMOVAL by United Airlines, Inc. ( Filing fee $ 400 receipt number 0975-1997120),
filed by United Airlines, Inc.. (Attachments: # (1) Declaration of Abigail M. Holden, # (2) Exhibit 1 -
Verified Petition to Provide Depo Before Action,# (3) Exhibit 2 -1/3118 email,# (4) Exhibit 3 -
1/20/18 email,# (5) Exhibit 4 - 2/8/18 email,# (6) Exhibit 5 -State Court docket,# (7) Certificate of
Service,# (8) Civil Cover Sheet)(Holden, Abigail)


1:18-cv-00077 Notice has been electronically mailed to:

Abigail Marie Holden                 aholden@cfhawaii.com,jdougherty@cfhawaii.com, nfarris@cfhawaii.com

1: 18-cv-00077 Notice will not be electronically mailed to:

Colby Johnson


The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
ISTAMP dcecfStamp_ID= 1095854936 IDate=2/27/201811 FileN umber=2408304-0
I 154c21f0d21600e2dafdlc0a74434ffb5937eal6ddebb5975b8301d3fbf505e0af3f
04351764d785acfe4a622e4a7c70cd0eb5348be2b98a5967a42439fcf58e6)1
Document description:Declaration of Abigail M. Holden
Original filename:n/a
Electronic document Stamp:
(STAMP dcecfStamp_ID=l095854936 (Date=2/27/2018) (FileNumber=2408304-I
I (a40cbea4fb30455e77c30ee2677f7946d58b020168f015db7ab10ad66c649587403
lb813f5ac641e06d09e2fc033c5604625b3dcafd2a2c551757f54adf4d2a3)1
Document description:Exhibit I - Verified Petition to Provide Depo Before Action
Original filename: n/a
Electronic document Stamp:
ISTAMP dcecfStamp_ID= I095854936 IDate=2/27/201811 FileN umber=2408304-2
I lb4fa491a791549ad34dl4796bf5a4fl07a932efbc08bff817fe5787790c37c77ba9
92d2807eca689799c63a9f963345272fa3ff682ad44ee5b3a35lb60c8f409JI
Document description:Exhibit 2 - 1/3/18 email
Original filename:n/a
hnps://ecf.hid .uscouns.gov/cgi-bin/Dispatch.pl? 10902639801-1417                                                     1/2
    Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 28 of 29                       PageID #:
                                         74
2/27/2018                                                             CM/ECF V6.1.I **LIVE**

Electronic document Stamp:
ISTAMP dcecfStamp_ID=l0958549361Date=2/27/201811FileNumber=2408304-3
I 16837854211619ff852398b87320f6c5bd556e2f62542lfll30dba6499666d6787a6
Od3fcdf762634ed37f0bc l 6e3790cb3745225e3538efa88078c214cbffa5fl I
Document description:Exhibit 3 - 1120/18 email
Original filename:n/a
Electronic document Stamp:
ISTAMP dcecfStamp_ID= 1095854936 IDate=2/27/20181 IFileN umber=2408304-4
I 13db8da2777667e9505fed4709a7be40388be512af0afa22615d026da46daab57130
e65062dd5bf0ac616ee350f2ad553bdl8472f503e66cd07ced5614659a71711
Document description:Exhibit 4 - 2/8/18 email
Original filename: n/a
Electronic document Stamp:
(STAMP dcecfStamp_ID=l095854936 IDate=2/27/2018J (FileNumber=2408304-5
I (54638d0de4169d54edf90el4704aa9ed73193d2633d007lc3d3240eaf8b246efb2f
254d8e6c92edcadf8f5 l 74f55fca098876fbc8cbe4bd2d93 l l a842cdeafd6 II
Document description:Exhibit 5 -State Court docket
Original filename:n/a
Electronic document Stamp:
(STAMP dcecfStamp_ID=l095854936 [Date=2/27/2018J 1FileNumber=2408304-6
I f0dafela8ebblafel5cd304f7fe684lbaba6e5ee999f9985a2dc42350874llfce0eb
lc365c88fa02ce2bcdab202dd35lfa754352al92f99abc5c505f75d435b3dll
Document description:Certificate of Service
Original filename: n/a
Electronic document Stamp:
(STAMP dcecfStamp_ID=l0958549361Date=2/27/2018) 1FileNumber=2408304-7
I 1647b279506ff6433fc997llcbl2ddbddd866la2ladd3813d32e3fc2938e2a0dd5ba
6145a8ld4fla24d0ee04786f865fl6lbe9blde557bal50a42ed24aab67a2611
Document description:Civil Cover Sheet
Original filename:n/a
Electronic document Stamp:
ISTAMP dcecfStamp_ID= I 095854936 IDate=2/27/2018) IFileNumber=2408304-8
I 19e087c59f7ec72aaffc55bl878fd6fd522cc339248bc0bl53321a4411a7201d34a5
727802e216364d6a34954ab0e2ae47ec23cc64223ed62bfaaa28ac315dfdlll




https://ecf .hid.uscourts .gov/cgi-bin/Dispatch.pl? I09026398014417                                        2/2
Case 1:18-cv-00077-SOM-KJM Document 5-3 Filed 03/02/18 Page 29 of 29     PageID #:
                                     75




               IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                                     STATE OF HAWAI'I

 COLBY JOHNSON and JASON
                                               S.P. NO. 18-1-0049 VLC
 MANGONON,

                      Petitioners,             CERTIFICATE OF SERVICE

       vs.

 UNITED AIRLINES, INC.,

                      Respondent.


                             CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the within document was served

 on this date in the following manner:

                                             HAND
                                           DELIVERED        MAILED      CMIECF

 COLBY JOHNSON                                 [ ]             [ x]       [ ]
 JASON MANGONON
 810 Richards Street, Suite 700
 Honolulu, HI 96813

 Petitioners Pro Se

             DATED: Honolulu, Hawai'i, February 28, 2018.




                                            ROBERTK. FRICKE
                                            ABIGAIL M. HOLDEN

                                            Attorneys for Respondent
                                            UNITED AIRLINES, INC.
